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21-1365
Selina Soule et al. v. Connecticut Association of Schools et al.



                             United States Court of Appeals
                                                        FOR THE
                                               SECOND CIRCUIT
                                               _________________


                                                      ORDER

             At a stated term of the United States Court of Appeals for the Second
Circuit, held at the Thurgood Marshall United States Courthouse, 40 Foley Square,
in the City of New York, on the 13th day of February, two thousand twenty-three.

____________________________________________________


Selina Soule, a minor, by Bianca Stanescu, her mother; Chelsea Mitchell, a minor,
by Christina Mitchell, her mother; Alanna Smith, a minor, by Cheryl
Radachowsky, her mother; Ashley Nicoletti, a minor, by Jennifer Nicoletti, her
mother,

                                     Plaintiffs-Appellants,

                  v.                                                    21-1365

Connecticut Association of Schools, Inc. d/b/a Connecticut Interscholastic Athletic
Conference; Bloomfield Public Schools Board of Education; Cromwell Public
Schools Board of Education; Glastonbury Public Schools Board of Education;
Canton Public Schools Board of Education; Danbury Public Schools Board of
Education,

                                     Defendants-Appellees,

                                     and

Andraya Yearwood; Thania Edwards, on behalf of her daughter, T.M.; Commission
on Human Rights and Opportunities,

                                     Intervenor-Defendants-Appellees.
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       A poll having been conducted and a majority of the active judges of the Court
having voted in favor of rehearing this appeal en banc, IT IS HEREBY ORDERED
that this appeal be heard en banc. See Fed. R. App. P. 35(a). Scheduling information
will be forthcoming.


                                      FOR THE COURT:
                                      Catherine O’Hagan Wolfe, Clerk
